Case 2:18-cv-05244-NRM-AYS               Document 51-6           Filed 03/16/20   Page 1 of 8 PageID #:
                                                1504



    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ----------------------------------------------------------------X
                                                                    X
    CARL T. SEMENCIC,
                                        Plaintiff,

    -against-                                                           Civil Action No.
                                                                        2:18-cv-05244-SJF-AKT
                                                                        2 :18-cv-05244-SJF-AKT


    THE COUNTY OF NASSAU;
    THE NASSAU COUNTY POLICE DEPARTMENT;
    COMMISSIONER PATRICK J. RYDER, individually
    and officially; POLICE OFFICER ROBERT B.
    McGRORY, individually and officially;
    POLICE OFFICER KENNETH J. MAGNUSON,
    Individually and officially; JOHN DOE #1, individually
    and officially; THE FRANKLIN SQUARE AND
    MUNSON FIRE DEPARTMENT;
    DANIEL MALONEY, individually;
    ROBERT FINEO, individually; and
    JOHN DOE #2, individually,

                                        Defendants.
    ----------------------------------------------------------------X
                                                                    X

                                         DEFAULT JUDGMENT

            WHEREAS Plaintiff Carl Semencic was arrested on July 19, 2016 by employees

    of co-defendants COUNTY OF NASSAU, the NASSAU COUNTY POLICE

    DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER

    PATRICK J. RYDER. During this arrest various firearms were seized from Plaintiff
                                                                           Plaintiff’ss

    home. Plaintiff was subsequently arrested and prosecuted in the Nassau County District

                                of the State of
    Court in the case of People of           of New York v Carl Semencic, Docket No.

    2016NA020473, for the crimes of Menacing in the Second Degree (in violation of New

    York Penal Law § 120.14(1)) and Criminal Possession of a Weapon in the Fourth Degree

    (i.e., possession of a dangerous weapon with intent to use the same unlawfully against



                                                  Page 1 of 8
Case 2:18-cv-05244-NRM-AYS            Document 51-6         Filed 03/16/20      Page 2 of 8 PageID #:
                                             1505



    another) (in violation of New York Penal Law § 265.01(2)). Plaintiff's
                                                               Plaintiff’s criminal

    prosecution lasted from August 11, 2016 until May 21, 2018, during which time he was

    forced to retain the legal services of criminal defense attorney Frederick K. Brewington,

    prepare a legal defense, and make numerous appearances with attorney Brewington in the

    Nassau County District Court in order to defend himself. Plaintiff expended considerable

    time and expense during the defense of his criminal prosecution. On or about May 21,

    2018 the criminal proceedings against Plaintiff were terminated after all criminal charges

    were dismissed on the motions of attorney Brewington; and

            WHEREAS Plaintiff's
                    Plaintiff’s arrest, search, seizure and criminal prosecution give rise

    to the instant case; and

            WHEREAS Plaintiff commenced this action by filing a Complaint with this

    Court on September 18, 2018 (ECF Doc. #1). In his Complaint, Plaintiff seeks monetary

    damages pursuant to 42 USC § 1983 for violations of his constitutional rights by the

    above-captioned co-defendants and for various tortious acts committed by them. See

    ECF Doc. #1; and

            WHEREAS Plaintiff alleges that the employees of the Defaulted Defendants,

    acting under the color of state law and pursuant to their employment with and by the

    Defaulted Defendants, illegally searched his home and seized his firearms, falsely

    arrested and imprisoned him, and falsely and maliciously prosecuted him, all in violation

    of the rights guaranteed to him by the Fourth, Fifth, Sixth and Fourteenth Amendments

    to the United States Constitution. Id. He further claims that these same employees used

    excessive force during his arrest, tortiously assaulting and battering him in the process.

    Id. Plaintiff claims that, as a result of these constitutional violations and torts, he has



                                              Page 2 of 8
Case 2:18-cv-05244-NRM-AYS           Document 51-6        Filed 03/16/20      Page 3 of 8 PageID #:
                                            1506



    been caused to suffer physical injury, emotional distress, loss of his firearm permit, loss

    of his property, and economic damages; and

           WHEREAS the Complaint filed by Plaintiff contains fifteen (15) separate Causes

    of Action, each of which seeks monetary damages for the liquidated sum certain of three

    million dollars ($3,000,000.00), plus punitive damages and attorney's
                                                               attorney’s fees; and

           WHEREAS of these fifteen (15) Causes of Action, eight (8) are directed against

    co-defendants COUNTY OF NASSAU, the NASSAU COUNTY POLICE

    DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER

    PATRICK J. RYDER; and

           WHEREAS the eight (8) Causes of Action ("COA")
                                                  (“COA”) brought by Plaintiff against

    co-defendants COUNTY OF NASSAU, the NASSAU COUNTY POLICE

    DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER

    PATRICK J. RYDER are: COA First (Illegal Search and Seizure); COA Second (Use of

    Excessive Force); COA Third (Equal Protection of the Laws); COA Fourth (Failure to

    Intervene); COA Fifth (Substantive Due Process of Law); COA Sixth (Municipal and

    Supervisory Liability); COA Seventh (Respondeat Superior); and COA Thirteenth

    (Negligent Hiring, Supervision and Retention); and

           WHEREAS co-defendants COUNTY OF NASSAU, the NASSAU COUNTY

    POLICE DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT

    COMMISSIONER PATRICK J. RYDER, having been served with Plaintiffs
                                                           Plaintiff’s Complaint

    and having filed an Answer to the same (ECF Doc. #25), are subject to the jurisdiction of

    this Court and are required to obey and comply with all orders issued by this Court in this

    case; and



                                            Page 3 of 8
Case 2:18-cv-05244-NRM-AYS          Document 51-6         Filed 03/16/20     Page 4 of 8 PageID #:
                                           1507



           WHEREAS on Wednesday, February 4, 2020 this Court ordered co-defendants

    COUNTY OF NASSAU, the NASSAU COUNTY POLICE DEPARTMENT and

    NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER PATRICK J.

    RYDER to return to Plaintiff within thirty (30) days all of the firearms seized from his

    home by their employees on July 19, 2016; and

           WHEREAS pursuant to this Court's
                                    Court’s Order dated February 4, 2020 co-defendants

    COUNTY OF NASSAU, the NASSAU COUNTY POLICE DEPARTMENT and

    NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER PATRICK J.

                                  Plaintiff’s firearms to him by no later than Thursday,
    RYDER were required to return Plaintiffs

    March 5, 2020; and

           WHEREAS at no time prior to Thursday, March 5, 2020 did co-defendants

    COUNTY OF NASSAU, the NASSAU COUNTY POLICE DEPARTMENT and

    NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER PATRICK J.

    RYDER seek to be relieved from the Court's
                                       Court’s Order dated February 4, 2020, request that

    the Order be modified, or seek an extension of time to comply with it; and

           WHEREAS co-defendants COUNTY OF NASSAU, the NASSAU COUNTY

    POLICE DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT

    COMMISSIONER PATRICK J. RYDER willfully, intentionally and contumaciously

                Court’s Order dated February 4, 2020 and failed to comply with it; and
    defied this Court's

           WHEREAS on Wednesday, March 11, 2020 this Court, exercising its'
                                                                       its’ inherent

    contempt power, found co-defendants COUNTY OF NASSAU, the NASSAU COUNTY

    POLICE DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT




                                            Page 4 of 8
Case 2:18-cv-05244-NRM-AYS          Document 51-6         Filed 03/16/20     Page 5 of 8 PageID #:
                                           1508



    COMMISSIONER PATRICK J. RYDER in contempt for their willful, intentional and

    contumacious violation of its Order dated February 4, 2020; and

           WHEREAS on Wednesday, March 11, 2020 this Court, exercising its'
                                                                       its’ inherent

    contempt power, GRANTED Plaintiff's
                            Plaintiff’s Motion to Strike the Answer of co-defendants

    COUNTY OF NASSAU, the NASSAU COUNTY POLICE DEPARTMENT and

    NASSAU COUNTY POLICE DEPARTMENT COMMISSIONER PATRICK J.

    RYDER and, further, GRANTED Plaintiff's
                                Plaintiff’s Motion for Entry of Default against them;

    and

           WHEREAS, as a result of their default co-defendants COUNTY OF NASSAU,

    the NASSAU COUNTY POLICE DEPARTMENT and NASSAU COUNTY POLICE

    DEPARTMENT COMMISSIONER PATRICK J. RYDER are now deemed by operation

    of law to have admitted liability to the Plaintiff on COA First (Illegal Search and

    Seizure), COA Second (Use of Excessive Force), COA Third (Equal Protection of the

    Laws), COA Fourth (Failure to Intervene), COA Fifth (Substantive Due Process of Law),

    COA Sixth (Municipal and Supervisory Liability), COA Seventh (Respondeat Superior)

    and COA Thirteenth (Negligent Hiring, Supervision and Retention); and

           WHEREAS, the Answer of the Defaulted Defendants having been stricken and

    default having been entered against them, Plaintiff CARL SEMENCIC is entitled to

    Default Judgment against them for the liquidated sums certain sought by Plaintiff as

    damages in each on the aforementioned Causes of Action; and

           WHEREAS this Court having stricken the Answer of co-defendants COUNTY

    OF NASSAU, the NASSAU COUNTY POLICE DEPARTMENT and NASSAU

    COUNTY POLICE DEPARTMENT COMMISSIONER PATRICK J. RYDER and



                                            Page 5 of 8
Case 2:18-cv-05244-NRM-AYS           Document 51-6        Filed 03/16/20      Page 6 of 8 PageID #:
                                            1509



    having entered default against them, this Court now finds that the requirements of Fed. R.

    Civ. P. 55(a) and Loc. Civ. R. 55.1 (i.e., that a Certificate of Default must be entered by

    the Clerk of Court before a Default Judgment can be entered by this Court) are

    inapplicable to the instant proceeding and are hereby waived; and

           WHEREAS co-defendants COUNTY OF NASSAU, the NASSAU COUNTY

    POLICE DEPARTMENT and NASSAU COUNTY POLICE                                 DEPARTMENT

    COMMISSIONER PATRICK J. RYDER are not infants or incompetents; and

           WHEREAS co-defendants COUNTY OF NASSAU, the NASSAU COUNTY

    POLICE DEPARTMENT and NASSAU COUNTY POLICE                                 DEPARTMENT

    COMMISSIONER PATRICK J. RYDER are not presently in the military; and

           WHEREAS although Plaintiffs
                            Plaintiff’s Complaint sought punitive damages against the

    Defaulted Defendants, Plaintiff is not asking this Court to award punitive damages

    against them as part of this Default Judgment; and

           WHEREAS the monetary damages Plaintiff seeks in his Causes of Action against

    the Defaulted Defendants are for liquidated sums certain that are susceptible of

    mathematical computation; and

           WHEREAS, having reviewed the invoices submitted by Plaintiff for legal

    services rendered to him by the Law Office of Frederick K. Brewington in defense of the

                            of the State of
    criminal case of People of           of New York v Carl Semencic, Docket No.

    2016NA020473, this Court now finds that Plaintiff has satisfactorily established that the

    legal fees Plaintiff paid to attorney Brewington for the services he rendered in that case

    total forty-one thousand four hundred thirty-seven dollars and forty-five cents




                                            Page 6 of 8
Case 2:18-cv-05244-NRM-AYS            Document 51-6        Filed 03/16/20       Page 7 of 8 PageID #:
                                             1510



    ($41,437.45) and, further, that these legal fees are recoverable by the Plaintiff as damages

    in this case; and

            1.     WHEREAS, having reviewed Invoice # 1160 submitted by the Law

    Office of Brian T. Stapleton, Esq., for legal services rendered to Plaintiff in the instant

    case in the amount of one hundred one thousand thirty-four dollars and three cents

    ($101,034.03), this Court now finds that Invoice # 1160 is sufficiently detailed so as to

    properly identify and explain all legal services rendered to the Plaintiff by the Law Office

    of Brian T. Stapleton, Esq., in this case; that all of the legal services rendered to the

    Plaintiff by the Law Office of Brian T. Stapleton, Esq., in this case as detailed in Invoice

                                                          Plaintiff’s legal rights and
    # 1160 were necessary to properly protect and advance Plaintiff's

    interests herein; that the time spent by the Law Office of Brian T. Stapleton, Esq. in

    performing these activities was reasonable; that the billable rate charged by the Law

    Office of Brian T. Stapleton, Esq., is fair and reasonable; and, further, that these legal

    fees are recoverable by the Plaintiff as damages in this case;

            IT IS HEREBY

            ORDERED, ADJUDGED and DECREED that Plaintiff CARL SEMENCIC

    recover from the co-defendants COUNTY OF NASSAU, the NASSAU COUNTY

    POLICE DEPARTMENT and NASSAU COUNTY POLICE DEPARTMENT

    COMMISSIONER PATRICK J. RYDER the sum of Twenty Four Million One Hundred

    Forty Two Thousand Four Hundred Seventy One Dollars and Seventy Eight Cents

    ($24,142,471.78), plus costs and interest according to law, from the date of this Judgment

    until the entire sum is paid.




                                             Page 7 of 8
Case 2:18-cv-05244-NRM-AYS          Document 51-6         Filed 03/16/20      Page 8 of 8 PageID #:
                                           1511



           This Default Judgment is being entered by the Court pursuant to Fed. R. Civ. P.

    55(b)(2) and Loc. Civ. R. 55.2, and is subject to the Court's
                                                          Court’s waiver of the applicability to

    Fed. R. Civ. P. 55(a) and Loc. Civ. R. 55.1 to the instant proceedings.

    Dated: __________________


                                          _____________________________________
                                          SANDRA J. FEUERSTEIN
                                          United States District Court Judge




                                            Page 8 of 8
